              Case 4:21-cr-00549 Document 1 Filed on 10/30/21 in TXSD Page 1 of 6



AO 91 (Rev. 11111)    Criminal Complaint


                                           UNITED STATES DISTRICT COURT                                              United States Courts
                                                                       for the
                                                                                                                   Southern District of Texas
                                                                                                                            FILED
                                                           Southern District of Texas
                                                                                                                         October 30, 2021
                     United States of America                             )                                      Nathan Ochsner, Clerk of Court
                                   v.                                     )
                     Malcolm Lenard Thomas
                                                                          )      Case No.           21mj2316
                                                                          )
                                                                          )
                                                                          )
                                                                          )
                              Defendant(sj


                                                     CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   October 2021 to present             in the county of         Harris/Montgomery         in the
      Southern            District of              Texas             , the defendant(s) violated:

              Code Section                                                          Offense Description
18 U.S.C. 2422(b)                                   Coercion and Enticement




           This criminal complaint is based on these facts:

See attached affidavit.




           ~ Continued on the attached sheet.




                                                                                                     SA Bethany Morris
                                                                                                     Printed name and title


Sworn to before me telephonically.


Date:                10/30/2021
                                                                                                       Judge's    signature


City and state:                              Houston, Texas                                 U.S. Magistrate Judge Frances Stacy
                                                                                                     Printed name and title
    Case 4:21-cr-00549 Document 1 Filed on 10/30/21 in TXSD Page 2 of 6




                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


I, Bethany Morris, being duly sworn, hereby depose and state the following:


1. I am a Special Agent of the Federal Bureau ofInvestigation (FBI). I have been a Special Agent

   of the FBI since December 2012. I am charged with the duty of investigating violations of the

   laws of the United States, collecting evidence in cases in which the United States is or may be

   a party in interest, and performing other duties imposed by law. During my assignment with

   the FBI, I have participated in the execution of search warrants for documents and other

   evidence, including computers and electronic media, in cases involving child pornography and

   the sexual exploitation of children. I have investigated multiple cases involving child

   pornography and the sexual exploitation of children. I have participated in various FBI

   mandated training for the investigation and enforcement of federal child pornography laws in

   which computers are used as the means for receiving, transmitting, and storing child

   pornography as defined in Title 18, U.S.C. §2256. I have participated             III   numerous

   investigations and trainings related to Human Trafficking offenses.

2. This Affidavit is made in support of a criminal complaint charging Malcolm Lenard Thomas

   (Thomas), with violating Title 18 U.S.c. §2422(b), which makes it a crime for anyone to

   knowingly persuade, induce, entice or coerce an individual to travel in interstate commerce

   with the purpose of engaging in prostitution or any criminal sexual activity, or attempting to

   do so.

3. I am familiar with the information contained in the Affidavit based upon the investigation

   that myself and other law enforcement officers have conducted, and any of my conversations

   with other parties involved in this case.
        Case 4:21-cr-00549 Document 1 Filed on 10/30/21 in TXSD Page 3 of 6




4. Because the Affidavit is being submitted for the limited purpose of securing a criminal

       complaint, I have not included each and every fact known to me concerning this

       investigation, I have set forth only those facts that I believe are necessary to establish

       probable cause that evidence of a violation of Title 18, U.S.C. §2422(b) has been committed

       by Thomas in October 2021.

5. In early October of2021, Your Affiant learned that an FBI, Online Covert Employeel

       (OCE), whose persona was a 15-year-01d female, was in communication with Thomas

       through Instagram. Thomas was using the Instagram profile name 3Iucci.ano. Throughout the

       communications, Thomas told the OCE the following:

                a. "Well how bout me for a fee2".

                b.   "1500 baby an it's game tight as long as you can listen an show me loyalty n

                     dedicated imma put you in the right position to greatness ya dig" [SIC].

6. In one chat conversation, Thomas asked the OCE how old she was and the OCE stated

       "15 ..well i b 16 on Halloween but im on that grown folks energy hehe". Thomas then

       requested a picture and the OCE asked "like what n u good w my age ion wanna waste time

       ya kno". Thomas responded "Yeah n regular pic" [SIC].


7. After discussions between Thomas and the OCE about the OCE traveling to Houston, Texas

       from McAllen, Texas, for the purpose of engaging in commercial sex, Thomas told the OCE

       to wire him the money and he would purchase the bus ticket, since the OCE was only 15

       years old and did not have a form of identification, with which to purchase a ticket. On

       October 27,2021, the OCE wired $200 via Ria Money Transfer service, from a Walmart




1   The identity of the aCE is known but not disclosed in this document.
2   A choosing fee is an amount of money paid to a pimp by a prostitute, to allow a prostitute to work for the pimp.
     Case 4:21-cr-00549 Document 1 Filed on 10/30/21 in TXSD Page 4 of 6




     located in McAllen, Texas, which was picked up at the Walmart located at 111 Yale Street,

    Houston, Texas by Thomas, on October 27,2021, at 1:35 PM (PST). According to the law

    enforcement relations team at Ria Money Transfer service, an identification was provided by

    the person who picked up the money.

 8. On October 27,2021, after the money transfer was sent by the OCE, a recorded telephone call

    was made to Thomas, by a Confidential Human Source3 (CHS), portraying the 15-year-old

    female. During that call, when asked how things were going to work, Thomas stated that he

    usually does probation4 but since she is coming from somewhere else, he is not going to put

    her through that. Thomas stated that he would pick her up when she arrives to Houston,

    Texas and everything she needs, she will get from him. When she arrives on Friday morning,

    he will get her a room and they will set up her online ad or she can walk the bladeS. Thomas

    stated that he would buy her bus ticket, take a picture of it, and send it to her via Instagram.

    Thomas told her that he would buy her a new phone and told her that the choosing fee is used

    to pay for her room, phone and whatever else she needed. Thomas told her about some rules

    of the game6 such as, staying in pocker7, how to walk the blade, and that she is to walk away

    from other pimps if they approach her. Thomas stated that once they stack ups, they will start

    traveling to places like Florida, California, Tennessee and Georgia. Thomas told her this is

    her best opportunity to travel and figure out what she wants to do in life.

9. On October 27, 2021, subsequent the recorded call, a Greyhound bus ticket was purchased in

    the OCE's persona name by Thomas, departing McAllen, Texas on October 28,2021, at



3 The CHS's identity is known to law enforcement but not being disclosed in this document.
4 Traffickers often require a probation period upon acquiring a new prostitute/victim.
S Blade is a slang term used to refer to a specific location on the street where prostitution is advertised.
6 The game refers to pimping and prostitution.

7 Staying in pocket refers to following the rules of the game.
8 Stack up means to make money.
      Case 4:21-cr-00549 Document 1 Filed on 10/30/21 in TXSD Page 5 of 6




    10:15 PM, and arriving in Houston, Texas on October 29,2021, at 4:15 AM. Thomas sent a

    photo of the bus ticket to the OCE via Instagram.

10. On October 29,2021, Thomas told the OCE he would be driving a burgundy Grand Prix and

    would pick her up at the but station when the bus arrived in Houston, Texas. At approximately

    4:30 AM, Thomas was observed sitting in a burgundy Grand Prix behind the Greyhound bus

    station located at 2121 Main Street, Houston, Texas, and arrested.

11. During a post arrest, post Miranda interview, Thomas stated that he did meet the OCE via

    Instagram and after receiving money via wire transfer at the Walmart located on Yale Street,

    Houston, Texas, he did purchase a bus ticket for her to travel to Houston, Texas for the

    purpose of her engaging in commercial sex. Thomas described his role as providing protection

    for a fee.
      Case 4:21-cr-00549 Document 1 Filed on 10/30/21 in TXSD Page 6 of 6




                                       CONCLUSION


12. Based upon the information set forth above, I believe that probable cause exists for the

    issuance of a Criminal Complaint charging Thomas with violation of 18 U.S.C. §2422(b),

    which makes it a crime for anyone to knowingly induce, entice or coerce an individual to

    travel in interstate commerce with the purpose of engaging in prostitution or any criminal

    sexual activity or attempting to do so.




                                                              Special Agent


         Signed and worn to before me, telephonically, this 30th day of October 2021.



                                                              Frances Stacy
                                                              United States Magistrate Judge
